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UNITED sTATEs DISTRICT CoURT ;-~;;.;o q ;;:L,
wEsTERN DISTRICT oF TENNESSEE
WESTERN DIVIsIoN 05 JUL -5 PH 2= 03

 

AMERICAN C(}PPER & BRASS, INC. )
and THE BANKRUPT ESTATE OF SMITH )
AND WOFFORD PLUMBING AND )

 

INDUSTRIAL SUPPLY, INC., on behalf of )
themselves and all others similarly situated, )
)
Plaintiffs, )
)
v. ) No. 04-277]-D/V
) Honorable Judge Bernice B. Donald
DONALD BOLIDEN AB, et al., )
)
Defendants. )
)

 

ORDER GRANTING PLAINTIFFS’ UNOPPOSED
MOTION FOR EXTENSION ()F TIME TO FILE AN OPPOSITION
TO DEFENDANT HALCOR’S MOTION TO DISMISS THE COMPLAINT (Dkt. #93)

 

This matter is before the Court upon Plaintiffs’ unopposed motion for extension of time to
file an opposition to Defendant Halcor’S Motion to Dismiss the Complaint. For good cause Shown,

the Court GRANTS Plaintiffs’ motion.

lT ls So oRDERED this o"“‘\~ day ofjuly, 2005.

 

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EsSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

